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ORIGINAL          IN THE UNITED STATES DISTRICT COURT
                                                            FILED IN CLERKIS OFFICE
                                                                 U.S.D.C.• Atlanta


                                                                 SEP 0 4 2012
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                                                          JAMES N. HATTEN, Clerk
                                                           By:                       .
                           GAINESVILLE DIVISION


  UNITED STATES OF AMERICA               CRIMINAL INDICTMENT

            v.                           NO.   a: 1 2 C ROO 28
  LARRY MCDANIEL,
       a/k/a Larry Mack,
  HOWARD BROWN, and
  SEAN KING



  THE GRAND JURY CHARGES THAT:

                                 COUNT ONE

       Beginning on or about July 1, 2012, and continuing until on

  or about August 16, 2012, in the Northern District of Georgia,

  the defendants, LARRY MCDANIEL, a/k/a Larry Mack, HOWARD BROWN,

  and SEAN KING, aided and abetted by each other and others, did

  corruptedly and by threatening communication influence, obstruct

  and impede the due and proper administration of the law under

  which a proceeding was pending before the Federal Bureau of

  Investigation, an agency of the United States, and did endeavor

  to do so, in that the defendants influenced, obstructed, and

  impeded, and attempted to influence, obstruct, and impede, an

  investigation being conducted by Special Agents of the Federal

  Bureau of Investigation in which D.B.S. was acting as a

  confidential informant, in violation of Title 18, United States

  Code, Sections 1505 and 2.
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                              COUNT TWO

     On or about August 16, 2012, in the Northern District of

Georgia, the defendant, LARRY MCDANIEL, a/k/a Larry Mack, having

been convicted on or about October 5, 1994 of the offense of

Conspiracy to Distribute 1000 pounds of Marijuana, in the United

States District Court for the Eastern District of Tennessee, the

aforesaid conviction being for a crime punishable by imprisonment

for a term exceeding one year, did knowingly possess a firearm,

that is, a Smith and Wesson, Model 910, 9mm pistol, bearing

serial number LJF1583, said possession being in and affecting

interstate commerce, in violation of Title 18, United States

Code, Section 922(g).

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SALLY QUILLIAN YATES
UNITED STATES ATTORNEY


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WILLIAM L. MCKINNON, JR.
ASSISTANT UNITED STATES ATTORNE
                                 If· .
        Bar No.  495812



SALLY   LLOY
ASSISTANT UNITED STATES ATTORNEY
Georgia Bar No. 140816


600 Richard B. Russell Federal Bldg.
75 Spring Street, S.W.
Atlanta, Georgia 30303
(404) 581-6000
